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                 EXHIBIT A
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                         UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA, et al.,
                                                  Case: 5:25-CV-00951-PCP
                       Plaintiffs,

         v.

  HEWLETT PACKARD
  ENTERPRISE CO. and JUNIPER
  NETWORKS, INC.

                       Defendants.



  UNITED STATE’S EXPLANATION OF PROCEDURES UNDER THE ANTITRUST
                   PROCEDURES AND PENALTIES ACT

        The United States submits this memorandum summarizing the procedures of the

Antitrust Procedures and Penalties Act, 15 U.S.C. § 16(b)–(h) (the “APPA” or “Tunney Act”),

related to the Court’s review of the proposed Asset Preservation and Hold Separate Stipulation

and Order (“Stipulation and Order”) and the proposed Final Judgment in this matter, which were

filed on June 27, 2025.

        1.    The Parties have filed a proposed Final Judgment and a Stipulation and Order, to

which the United States and Defendants have agreed. The Parties have also filed a Competitive

Impact Statement explaining the proposed settlement. The United States and Defendants have

also agreed that the Court may enter the proposed Final Judgment after the requirements of the

Tunney Act have been satisfied.

        2.    The United States asks that the Court sign the Stipulation and Order as soon as

possible. The Stipulation and Order will ensure that Defendants preserve
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competition during the Tunney Act proceedings by (a) complying with the provisions of the

proposed Final Judgment and (b) maintaining the assets that the proposed Final Judgment

requires Defendants to divest and license.

          3.   The Court should not sign the proposed Final Judgment until the requirements of

the Tunney Act are satisfied. The Tunney Act requires that the United States (a) publish the

proposed Final Judgment and the Competitive Impact Statement in the Federal Register and (b)

cause a summary of the terms of the proposed Final Judgment and the Competitive Impact

Statement to be published in one or more newspapers at least 60 days before the Court signs the

proposed Final Judgment. The newspaper notice will inform the public how to submit comments

about the proposed Final Judgment to the United States Department of Justice’s Antitrust

Division. Defendants in this matter have agreed to arrange and pay for the required newspaper

notice.

          4.   Members of the public who wish to submit comments will be invited to do so within

60 days following publication in the Federal Register and of the newspaper notice. The United

States will prepare a response to any comments received during this period and will (a) file with

the Court the comments and the United States’ response and (b) publish the comments and the

United States’ response in the Federal Register unless this Court authorizes an alternative method

of public dissemination of the public comments and the response to those comments pursuant to

the Tunney Act, 15 U.S.C. § 16(d). After the comments and the United States’ response have been

filed with the Court and published, the United States may move the Court to enter the proposed

Final Judgment unless the United States has withdrawn its consent to entry of the Final Judgment,

as permitted by Paragraph IV.A of the Stipulation and Order.

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       5.    If the United States moves the Court to enter the proposed Final Judgment after

compliance with the Tunney Act, the Court may enter the Final Judgment without a hearing if

the Court concludes that the Final Judgment is in the public interest.




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Dated: June 28, 2025

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